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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

YVONNE BROWN,                          )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
SKY KING, INC.,                        )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, YVONNE BROWN, by and through the undersigned

counsel, and files this, her Complaint against Defendant SKY KING, INC.

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                          JURISDICTION AND VENUE

      1.      This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.      Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division, as the parcel of real property at issue in this case is

located in Douglas County, Georgia.

                                      PARTIES

       3.      Plaintiff YVONNE BROWN (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Douglasville,

Georgia (Douglas County).

       4.      Plaintiff suffers from Epilepsy, Multiple Sclerosis (“MS”) and has

suffered multiple injuries resulting in irreversible damage to her legs, and is

disabled as defined by the ADA.

       5.      Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

       6.      Plaintiff uses a wheelchair for mobility purposes.

       7.      Defendant SKY KING, INC. (hereinafter “Defendant”) is a North

Carolina corporation that transacts business in the state of Georgia and within this

judicial district.

       8.      Defendant may be properly served with process via its registered

agent for service, to wit: Allan R. Ramsay, 38 Falls Road, Toccoa, Georgia 30577.




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                           FACTUAL ALLEGATIONS

      9.      On multiple occasions, including, but not limited to August 22, 2021,

Plaintiff was a customer at “Ingles,” a business located at 2175 Fairburn Road,

Douglasville, Georgia 30135.

      10.     Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.     Plaintiff lives approximately four (4) miles from the Facility and

Property.

      12.     Plaintiff’s access to the business(es) located at 2175 Fairburn Road,

Douglasville, Georgia 30135 (Douglas County Property Appraiser’s parcel number

00820150002), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of her disabilities, and she will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.     Plaintiff has visited the Facility and Property at least once before and


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intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to her access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

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      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of her

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit her


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access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of her

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all


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physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      30.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)      EXTERIOR ELEMENTS:

      (i)      The walking surfaces of the accessible route on the Property

               between the Suite 2173 and Suite 2175 portions of the Facility

               have a running slope in excess of 1:20 (one to twenty), in

               violation of section 403.3 of the 2010 ADAAG standards. This

               portion of the accessible route also has a total vertical rise

               greater than 6” (six inches), but does not have handrails

               complying with section 505 of the 2010 ADAAG standards on

               both sides of such portion of the accessible route, in violation of

               section 405.8 of the 2010 ADAAG standards.

      (ii)     The access aisle adjacent to the accessible parking spaces on the


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        Property that are situated across the vehicular way from the

        southern entrance to the Ingles portion of the Facility has

        significant amounts of broken pavement within its boundaries,

        resulting in numerous vertical rises in excess of ¼” (one quarter

        inch), in violation of section 502.4 of the 2010 ADAAG

        standards. The accessible route leading from this access aisle

        also requires disabled individuals to traverse significant vertical

        rises, broken pavement and potholes within the vehicular way

        in order to gain access to the Facility, in violation of section

        403.2 of the 2010 ADAAG standards.

(iii)   The walking surfaces of the accessible route on the Property

        between the Suite 2177 and Suite 2179 portions of the Facility

        have a running slope in excess of 1:20 (one to twenty), in

        violation of section 403.3 of the 2010 ADAAG standards. This

        portion of the accessible route also has a total vertical rise

        greater than 6” (six inches), but does not have handrails

        complying with section 505 of the 2010 ADAAG standards on

        both sides of such portion of the accessible route, in violation of

        section 405.8 of the 2010 ADAAG standards.


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(iv)   The accessible parking spaces on the Property that are located

       most proximate to Suite 2179 of the Facility are missing proper

       identification signage, in violation of section 502.6 of the 2010

       ADAAG standards.

(v)    The accessible ramp on the Property located most proximate to

       Suite 2179 of the Facility has a slope exceeding 1:12 (one to

       twelve), in violation of section 405.2 of the 2010 ADAAG

       standards, and its side flares have slopes in excess of 1:10 (one

       to ten), in violation of section 406.3 of the 2010 ADAAG

       standards.

(vi)   The walking surfaces of the accessible route on the Property

       between the Suite 2185 and Suite 2187 portions of the Facility

       have a running slope in excess of 1:20 (one to twenty), in

       violation of section 403.3 of the 2010 ADAAG standards. This

       portion of the accessible route also has a total vertical rise

       greater than 6” (six inches), but does not have handrails

       complying with section 505 of the 2010 ADAAG standards on

       both sides of such portion of the accessible route, in violation of

       section 405.8 of the 2010 ADAAG standards.


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(vii) There is an approximately 1” (one inch) vertical rise at the

        landing of the southernmost accessible ramp on the Property, in

        violation of section 405.7 of the 2010 ADAAG standards.

(b)     INTERIOR ELEMENTS:

(i)     The restrooms in the Ingles portion of the Facility have sinks

        that do not provide for adequate knee and toe clearance

        thereunder, in violation of section 606.2 of the 2010 ADAAG

        standards.

(ii)    The accessible toilet stall doors in the restrooms in the Ingles

        portion of the Facility are not self-closing, in violation of

        section 604.8.2.2 of the 2010 ADAAG standards.

(iii)   The “Casa Tequila” portion of the Facility lacks restrooms

        signage that complies with sections 216.8 and 703 of the 2010

        ADAAG standards.

(iv)    The hardware on the restroom doors in the “Casa Tequila”

        portion of the Facility have operable parts that require tight

        grasping, pinching or twisting of the wrist, in violation of

        section 309.4 of the 2010 ADAAG standards.

(v)     The restrooms in the “Casa Tequila” portion of the Facility


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             have pedestal sinks that provide for inadequate knee and toe

             clearance thereunder, in violation of sections 305, 306 and

             606.2 of the 2010 ADAAG standards.

      31.    The Facility and Property have not been adequately maintained in

operable working condition for those features of facilities and equipment that are

required to be readily accessible to and usable by persons with disabilities, in

violation of section 28 C.F.R. § 36.211.

      32.    Upon information and good faith belief, Defendant fails to adhere to a

policy, practice and procedure to ensure that all features and facilities at the

Facility and Property are readily accessible to, and usable by, disabled individuals.

      33.    Without limitation, the above-described violations of the ADAAG

made it more difficult and dangerous for Plaintiff to travel upon the accessible

routes on the Property.

      34.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      35.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.


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      36.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      37.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      38.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      39.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      40.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      41.   Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous


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conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      42.    Plaintiff’s requested relief serves the public interest.

      43.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      44.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      45.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and

             Property to make them readily accessible to, and useable by,

             individuals with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,


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             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: November 11, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
                                       1123 Zonolite Road, N.E., Suite 7-B
                                       Atlanta, Georgia 30306
                                       Tel: (404) 365-4460
                                       Fax: (855) 415-2480
                                       craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




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